        Case 2:11-cv-02392-CBM-JC Document 17 Filed 08/05/11 Page 1 of 1 Page ID #:42
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                                      UNITED STATES DISTRICT COURT
                                     CENTRAL DISTRICT OF CALIFORNIA
TIFFANY RADINSKY                                                    CASE NUMBER

                                                                                  11-CV-02392 CBM (JCx)
                                                     Plaintiff(s)
                             v.
CHEXSYSTEMS, INC.
                                                                     SETTLEMENT PROCEDURE SELECTION:
                                                                           REQUEST AND NOTICE
                                                Defendant(s).


       Pursuant to Local Rule 16-15, the parties recommend that the Court approve the following settlement
procedure:

         ✔
         G       SETTLEMENT PROCEDURE NO. 1 - The parties shall appear before the
                                     ✔ magistrate judge assigned to the case for such settlement proceedings as
                 G district judge or G
                 the judge may conduct or direct.

         G       SETTLEMENT PROCEDURE NO. 2 - The parties shall appear before an
                 attorney selected from the Attorney Settlement Officer Panel for all further
                 settlement proceedings.

         G       SETTLEMENT PROCEDURE NO. 3 - The parties shall appear before a retired
                 judicial officer or other private or non-profit dispute resolution body for mediation-
                 type settlement proceedings.

                August 5, 2011
         Dated: _____________________           Ryan Lee
                                                _______________________________________________
                                                Attorney for Plaintiff ______________________________
                                                                       Tiffany Radinsky

         Dated: _____________________           ________________________________________________
                                                Attorney for Plaintiff _______________________________

                August 5, 2011
         Dated: _____________________           Jeffrey A. Topor
                                                ________________________________________________
                                                Attorney for Defendant CHEXSYSTEMS,
                                                                       ____________________________
                                                                                     INC.

         Dated: _____________________           ________________________________________________
                                                Attorney for Defendant ____________________________

         Dated: _____________________           ________________________________________________
                                                Attorney for Defendant ____________________________

NOTE: The (ADR-01 ORDER): ORDER RE: SETTLEMENT PROCEDURE SELECTION: REQUEST AND NOTICE must
be submitted with this Request. If additional signatures are required, attach an additional page to this request.

ADR–01 (03/07)                    SETTLEMENT PROCEDURE SELECTION: REQUEST AND NOTICE
